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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    VALERIANO TORRES OROZCO,          )       No. CR-F-06-023 OWW
                                       )
10                                     )       ORDER DIRECTING VALERIANA
                                       )       TORRES OROZCO TO FILE
11                   Petitioner,       )       PLEADING WITHIN 30 DAYS.
                                       )
12             vs.                     )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                   Respondent.       )
                                       )
16                                     )

17        On December 11, 2007, Petitioner Valeriano Torres Orozco

18   filed a "Motion for Sentence (Reduction) Adjustment."           Petitioner

19   requests that his sentence be reduced by at least five months

20   because his status as a deportable alien makes him ineligible to

21   participate in residential drug abuse program and to receive a

22   half-way house release and because he is suffering from diabetes,

23   depression, anxiety, and high blood pressure.

24        Petitioner was charged with conspiracy to distribute and

25   possess with intent to distribute methamphetamine and to

26   possession with intent to distribute methamphetamine.           Petitioner

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1    pleaded guilty pursuant to a written Plea Agreement (Doc. 26) to

2    conspiring to distribute more than 50 grams of methamphetamine.

3    The Plea Agreement provided in pertinent part:

4              2.    Agreements by the Defendant.

5              ...

6              (d) The defendant agrees and stipulates to
               request a sentence of not less than 70
7              months. The defendant will not move for a
               downward departure or reduction of his
8              sentence beyond that agreed to by the
               government under the terms of this written
9              plea agreement.   Should, however, the
               government make a motion pursuant to section
10             5K1.1 of the United States Sentencing
               Guidelines, the defendant is free to move the
11             Court to agree to such a departure. Other
               than agreeing to downward departure for
12             substantial assistance (should the government
               file such a motion), the defendant
13             understands and agrees that this agreement by
               him includes, but is not limited to, not
14             moving for a downward departure of his
               offense level, criminal history, criminal
15             history points, as defined by the United
               States Sentencing Guidelines. The defendant
16             further agrees that he will provide no
               information to the Court which would justify
17             a downward departure, nor make no [sic]
               written or oral address to the Court which
18             would suggest to the Court that it is not
               bound by the plea agreement. When addressing
19             the Court, the defendant will support and
               request a sentence of at least 70 months.
20
               ...
21
               (g) If the defendant’s conviction on any of
22             the counts to which he is pleading is ever
               vacated at the defendant’s request, or his
23             sentence is ever reduced at his request, or
               if the defendant violates the Plea Agreement,
24             he shall thereafter be subject to prosecution
               for any federal criminal violation of which
25             the government has knowledge, including but
               not limited to perjury, false statements, and
26             obstruction of justice. Because disclosures

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1          pursuant to this Agreement will constitute a
           waiver of the Fifth Amendment privilege
2          against compulsory self-incrimination, any
           such prosecution may be premised on
3          statements and/or information provided by the
           defendant. The government shall have the
4          right (1) to prosecute the defendant on any
           of the counts to which he pleaded guilty; (2)
5          to reinstate any counts that may be dismissed
           pursuant to this agreement; and (3) to file
6          any new charges that would otherwise be
           barred by this agreement. The decision to
7          pursue any of all of these options will be
           solely within the discretion of the United
8          States Attorney’s Office. By signing this
           agreement, the defendant agrees to waive any
9          objections, motions, and defenses he might
           have to the government’s decision, including
10         Double Jeopardy. In particular, he agrees
           not to raise any objections based on the
11         passage of time with respect to such counts
           including, but not limited to, any statutes
12         of limitation or any objections based on the
           Speedy Trial Act or the Speedy Trial Clause
13         of the Sixth Amendment.

14         If it is determined that the defendant has
           violated any provision of this Agreement or
15         if the defendant successfully moves to
           withdraw his plea: (1) all statements made by
16         the defendant to the government or other
           designated law enforcement agents, or any
17         testimony given by the defendant before the
           grand jury or other tribunal, whether before
18         or after this Agreement, shall be admissible
           in evidence in any criminal, civil, or
19         administrative proceedings hereafter brought
           against the defendant; and (2) the defendant
20         shall assert no claim under the United States
           Constitution, any statute, Rule 11(c)(6) of
21         the Federal Rules of Criminal Procedure, Rule
           410 of the Federal Rules of Evidence, or any
22         other federal rule, that statements made by
           the defendant before or after the Agreement,
23         or any leads derived therefrom, should be
           suppressed. By signing this Agreement, this
24         defendant waives any and all rights in the
           foregoing respects.
25
           (h) The defendant is aware that Title 18,
26         United States Code, Section 3742 affords a

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1              defendant the right to appeal the sentence
               imposed. Acknowledging this, the defendant
2              knowingly waives the right to appeal his
               conviction or any sentence (or the manner in
3              which that sentence was determined) which is
               within the statutory maximum for the crime on
4              the grounds set forth in Title 18, United
               States Code, Section 3742 or on any ground
5              whatever, in exchange for the concessions
               made by the United States in this plea
6              agreement. The defendant also waives his
               right to challenge his conviction, sentence
7              or the manner in which it was determined in
               any post-conviction attack, including but not
8              limited to a motion brought under Title 28,
               United States Code, Sections 2241 or 2255.
9
     Petitioner was sentenced on February 12, 2007 to 56 months in
10
     custody (Docs. 32 and 35).      Prior to sentencing, the United
11
     States filed under seal a motion for departure under USSG § 5K1.1
12
     (Doc. 34 "SEALED"), requesting a departure from the guideline
13
     range to a sentence of 56 months.       Petitioner did not file an
14
     appeal from his conviction and sentence.
15
          Petitioner cannot seek a reduction of his sentence pursuant
16
     to Rule 35(b), Federal Rules of Criminal Procedure.          By its
17
     terms, Rule 35 does not apply to Petitioner.
18
          Arguably Petitioner is seeking to vacate, set aside or
19
     correct his sentence pursuant to 28 U.S.C. § 2255.          As explained
20
     in United States v. Seesing, 234 F.3d 456, 464 (9th Cir.2000):
21
               When presented with a pro se motion that
22             could be recharacterized as a 28 U.S.C. §
               2255 motion, a district court should not so
23             recharacterize the motion unless: (a) the pro
               se prisoner, with knowledge of the potential
24             adverse consequences of such a
               recharacterization, consents or (b) the
25             district court finds that because of the
               relief sought that the motion should be
26             recharacterized as a 28 U.S.C. § 2255 motion

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1              and offers the pro se petitioner the
               opportunity, after informing the prisoner of
2              the consequences of recharacterization, to
               withdraw the motion and file one all-
3              inclusive 28 U.S.C. § 2255 motion within the
               one-year statutory period.
4
          Petitioner is advised that the recharacterization of his
5
     pleadings as a motion for relief pursuant to 28 U.S.C. § 2255 has
6
     potential adverse consequence to him.        Motions pursuant to
7
     Section 2255 are subject to a one-year limitation period.             Any
8
     claims for relief based on the conviction or sentence brought
9
     after the expiration of that one-year period may be barred unless
10
     facts demonstrating equitable tolling are established.              Further,
11
     if all claims for relief pursuant to Section 2255 are not brought
12
     in a single motion, subsequently asserted claims may be barred as
13
     “second or successive” unless prior authorization from the Court
14
     of Appeal is obtained.
15
          Petitioner is ordered to file a pleading with the Court
16
     within 30 days of the filing date of this Order advising whether
17
     or not he consents to the recharacterization of his pleadings as
18
     a motion to vacate, set aside or correct sentence pursuant to 28
19
     U.S.C. § 2255 or whether he elects to withdraw these pleadings.
20
     If Petitioner elects to withdraw the motion filed on December 11,
21
     2007, Petitioner must file one all-inclusive Section 2255 motion
22
     on or before February 21, 2008.1        If Petitioner fails to file a
23
     pleading either consenting or withdrawing within 30 days of the
24

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          1
           No opinion is expressed whether or to what extent Petitioner
26   may be entitled to relief pursuant to 28 U.S.C. § 2255.

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1    filing date of this Order, Petitioner will be deemed to have

2    consented to the recharacterization of the December 11, 2007

3    motion as a Section 2255 motion and the motion will be resolved

4    by further Order.

5          IT IS SO ORDERED.

6    Dated:   December 17, 2007             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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